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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ12-388
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
12   HECTOR ANTONIO MADRID FELIX,

13                                 Defendant.

14

15   Offense charged:
16          Count 1:        Possession of Methamphetamine with Intent to Distribute, in violation of
                            21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)
17

18   Date of Detention Hearing: July 19, 2012
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
22
                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      An immigration detainer has been placed on defendant by the United States
25
                    Immigration and Customs Enforcement.
26


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           3.     Defendant has stipulated to detention, but reserves the right to contest his
 2
                  continued detention if there is a change in circumstances.
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           4.     There are no conditions or combination of conditions other than detention that
 4
                  will reasonably assure the appearance of defendant as required or ensure the
 5
                  safety of the community.
 6
           IT IS THEREFORE ORDERED:
 7
           (1)    Defendant shall be detained and shall be committed to the custody of the
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                  Attorney General for confinement in a correction facility separate, to the extent
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                  practicable, from persons awaiting or serving sentences or being held in custody
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                  pending appeal;
11
           (2)    Defendant shall be afforded reasonable opportunity for private consultation with
12
                  counsel;
13
           (3)    On order of a court of the United States or on request of an attorney for the
14
                  government, the person in charge of the corrections facility in which defendant
15
                  is confined shall deliver the defendant to a United States Marshal for the
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                  purpose of an appearance in connection with a court proceeding; and
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           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
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                  counsel for the defendant, to the United States Marshal, and to the United States
19
                  Pretrial Services Officer.
20
           DATED this 19th day of July, 2012.


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                                                 JAMES P. DONOHUE
23                                               United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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